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                                    THE SUPREME COURT
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                                             March 9, 2023
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                                      LETTER SENT BY E-MAIL                             _I `
                                                                                                                INITIAL.

      Adam J. Berger                                Meena Pallipamu Menter
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      Seattle, WA 98104-3188                        Hon. Molly C. Dwyer, Clerk
                                                    (sent by U.S. mail only)
      Devin T. Theriot-Orr                          U.S. Court of Appeals for the Ninth Circuit
      Open Sky Law, PLLC                            95 Seventh Street
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      Kent, WA 98032

      Jennifer D. Bennett
      Gupta Wessler PLLC
      100 Pine Street, Suite 1250
      San Francisco, CA 94111

      Re:    Supreme Court No. 101786-3 — Ugochukwu Goodluck Nwauzor et al. v. The Geo Group,
                                             Inc.
             United States Court of Appeals for the Ninth Circuit, No. 21-36024 (consolidated with
                                                               No. 21-36025)

      Clerk and Counsel:

             The "ORDER CERTIFYING QUESTIONS TO WASHINGTON SUPREME COURT"
      entered by the United States Court of Appeals for the Ninth Circuit on March 7, 2023, was
       Case: 21-36024, 03/14/2023, ID: 12673982, DktEntry: 103, Page 2 of 2

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 No. 101786-3
 March 9, 2023



received and filed on March 8, 2023. The certified record was also filed on March 8, 2023. The
matter has been assigned the above referenced Supreme Court cause number.

       Pursuant to RCW 2.60.030 and RAP 16.16(e), briefs are due in accordance with the
following schedule:

       1.        The Defendant-Appellant's opening brief should be served and filed by April 7,
                 2023.

       2.        The Plaintiffs-Appellees' answering brief should be served and filed within 20
                 days after service of the Defendant-Appellant's opening brief.

                 The Defendant-Appellant's reply brief should be served and filed within 10 days
                 after service of the Plaintiffs-Appellees' answering brief.

        Briefs should be in the form provided by RAP 10.3 and RAP 10.4, and should be served
and filed in accordance with RAP 10.2(h).

        Counsel are advised that future correspondence from this Court regarding this
matter will most likely only be sent by an e-mail attachment, not by regular mail. This
office uses the e-mail address that appears on the Washington State Bar Association lawyer
directory. Counsel are responsible for maintaining a current business-related e-mail
address in that directory. Any out-of-state counsel should advise this Court of their e-mail
address and keep this office informed of any changes.

                                              Sincerely,



                                              Sarah R. Pendleton
                                              Supreme Court Deputy Clerk

SRP:jm

cc: Michael Johnston, Court Commissioner
